            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                       CRIMINAL CASE NO. 3:00cr42


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
DESMOND SENTELL DAILEY. )
                          )



        THIS MATTER is before the Court on the Notice of Ineligibility

Regarding Crack Cocaine, 18 U.S.C. §3582 [Doc. 140], filed February 15,

2009.

        Haakon Thorsen was appointed in July 2008 to represent the

Defendant in order to ascertain whether the Defendant would be eligible for

any relief pursuant to the Crack Cocaine Guideline Amendment. [Doc.

127]. On January 15, 2009, the United States Probation Office filed a

Supplement to the Presentence Report Pursuant to Crack Cocaine

Guideline Amendment [Doc. 137] and a Sentencing Recommendation

Pursuant to Crack Cocaine Guideline Amendment [Doc. 138]. The

Probation Office determined that the Defendant was not eligible for relief.



        Case 3:00-cr-00042-MR   Document 141   Filed 02/20/09   Page 1 of 2
Because Mr. Thorsen had not filed any report in the record, the

undersigned required him to advise the Court whether he would file a

motion on the Defendant’s behalf or a notice of ineligibility for relief. [Doc.

139]. On February 15, 2009, a notice of ineligibility for relief was filed

advising that because the Defendant was sentenced to the mandatory

statutory minimum sentence, no relief is available.

      The Court has reviewed the supplement to the presentence report as

well as the notice of ineligibility. The Defendant is not eligible for relief

because the mandatory statutory minimum sentence of 120 months was

not waived by the original sentencing court. If the Amendment had been in

place at the time of the original sentencing, the guideline range would have

been the mandatory minimum sentence of 120 months.

      IT IS, THEREFORE, ORDERED that the Defendant is not eligible for

relief pursuant to the Crack Cocaine Guideline Amendment.

                                        Signed: February 20, 2009




      Case 3:00-cr-00042-MR     Document 141     Filed 02/20/09     Page 2 of 2
